EXHIBIT A
Aaron B. Clark (15404)
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Attorneys for Plaintiffs


                           IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


 MATHEW SHAW and BROOKE SHAW,
                                                     DECLARATION OF AARON B. CLARK
          Plaintiffs,                                 IN SUPPORT OF EX PARTE MOTION
                                                         FOR ALTERNATIVE SERVICE
 v.
                                                                Case No. 1:24-cv-00122
 JULIUS MWALE and KAILA MWALE,
                                                             Judge Ann Marie McIff Allen
          Defendants.                                       Magistrate Judge Daphne A. Oberg



         I, Aaron B. Clark, state and declare as follows:

                 I am over the age of 18, am competent to testify, and have personal knowledge of

the matters testified to herein.

                 I am a member of the Utah State Bar and am licensed to practice law in the State

of Utah. I am a shareholder at Dentons Durham Jones & Pinegar, P.C., and am one of the attorneys

representing the Plaintiffs in this action.




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               I represented Plaintiffs during the negotiation of the Loan Modification Agreement

and the corresponding Affidavits for Judgment by Confession for Money Due signed by

Defendants.

               Attorney Matthew Weiss, a New York attorney, represented Kaila Mwale in the

negotiation of the Loan Modification Agreement, and also facilitated the signature of Julius Mwale

on the related Release Agreement.

               During these negotiations, and up through the present, I communicated via email

with Mr. Weiss on numerous occasions, with Mr. Weiss using the email address

mjweiss@weissandassociatespc.com.

               On behalf of Plaintiffs, I filed the Complaint in the present action against

Defendants on July 19, 2024 (the “Complaint”).

               On July 19, 2024, the same day the Complaint was filed, I emailed a courtesy copy

of the Complaint to Mr. Weiss and asked whether Mr. Weiss would accept service for the

Defendants. In his reply email, Mr. Weiss acknowledged receipt of the Complaint, but he

explained that he was not authorized to accept service, though he would “discuss with my client

and let you know if that changes.”

               The Shaws provided me with the address of the personal residence of Defendants,

which residence they had personally visited several times. That address is 10 Serenity Lane,

Alamo, California 94507.

               I hired Aboingo Services to serve process of the Complaint and Summons on

Defendants at 10 Serenity Lane, Alamo, California 94507. After numerous attempts to serve

Defendants at that address, Aboingo Services was unable to accomplish service.

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                I had a telephone conversation with Mr. Weiss on Monday, August 12, 2024, during

which Mr. Weiss offered to make someone available to accept service of the Complaint at the

Alamo residence on Friday, August 16, 2024, if the Shaws would take down their website

(www.juliusmwale.com) that publicly publishes a copy of the Complaint. Mr. Weiss claimed that

the Mwales have already lost $5 million in business from the Shaws having published the website

with the Complaint. When I tried to clarify with Mr. Weiss whether he also represented Julius, Mr.

Weiss said that he still only represents Kaila, but Julius had “given [him] authority to negotiate on

his [Julius’s] behalf” for purposes of offering to accept service if the Shaws took down the website.

The Shaws declined the offer.

                I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information, and belief.

         Dated: August 21, 2024.

                                              /s/ Aaron B. Clark
                                              Aaron B. Clark




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